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JS-6

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
LOVIE T. MATTHEWS, NO. CV 18-10038-DSF(E)
Petitioner,
JUDGMENT

Vv.

DEBBIE ASUNCION, Warden,

Respondent.

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Pursuant to the Order Accepting Findings, Conclusions and

Recommendations of United States Magistrate Judge,
IT IS ADJUDGED that the action is dismissed without prejudice.

DATED: April 22, 2021.

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Kolo (Q- Ap .- _ts CHhKa NA
DALE S. FISCHER
UNITED STATES DISTRICT JUDGE

 
